         Case 3:22-cv-00474-TWR-BLM Document 2 Filed 04/08/22 PageID.16 Page 1 of 1
2 AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
                  Library of Congress                                                             ACTION OR APPEAL
                  Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                     COURT NAME AND LOCATION
        ✔ ACTION
        G                  G APPEAL                                   United States District Court, Southern District of California
DOCKET NO.                      DATE FILED                            333 West Broadway, Suite 420
    22-cv-00474-TWR-BL                     4/8/2022                   San Diego, CA 92101
PLAINTIFF                                                                         DEFENDANT
Strike 3 Holdings, LLC                                                            John Doe
                                                                                  subscriber assigned IP address 76.167.99.50



        COPYRIGHT
                                                            TITLE OF WORK                                              AUTHOR OR WORK
     REGISTRATION NO.

1 See attached

2

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill           G Other Pleading
        COPYRIGHT
                                                            TITLE OF WORK                                              AUTHOR OF WORK
     REGISTRATION NO.

1

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3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

CLERK                                                        (BY) DEPUTY CLERK                                            DATE



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